Case 1:25-cv-00532-TNM   Document 56-4   Filed 04/16/25   Page 1 of 3




                Exhibit D
4/15/25, 11:38 PM   Case 1:25-cv-00532-TNM         Document
                              DAILY GUIDANCE AND PRESS        56-4
                                                       SCHEDULE       Filed 04/16/25
                                                                FOR WEDNESDAY, APRIL 16, 2025Page
                                                                                              | White 2 of 3Pool | Forth
                                                                                                      House




   < WHITE HOUSE POOL


   DAILY GUIDANCE AND PRESS SCHEDULE FOR
   WEDNESDAY, APRIL 16, 2025

             White House Pool
             POSTED AUTOMATICALLY


   4/15/2025 · 10:21:21 PM EDT

   FOR IMMEDIATE RELEASE
   04/15/25
   DAILY GUIDANCE AND PRESS SCHEDULE
   FOR WEDNESDAY, APRIL 16, 2025
   In-Town Pool
   TV Corr & Crew: NBC
   Photos: AFP, NYT, Reuters, Getty
   Print: Washington Times
   Radio: iHeartMedia
   Secondary TV Corr & Crew: EWTN
   Secondary Print: The Daily Signal
   New Media: Christian Broadcasting Network


   EDT
   9:00 AM In-Town Pool Call Time


   11:30 AM THE PRESIDENT receives his Intelligence Briefing
   Oval Office
   Closed Press


   6:30 PM THE PRESIDENT participates in an Easter Prayer Service and Dinner
   Blue Room
   White House Press Pool


                                           Loading...
   ============================================================                            Your Feed     Top Stories       More

https://www.forth.news/whpool/CNBcXGMZZWxuGgKzgNi2t                                                                               1/2
4/15/25, 11:38 PM   Case 1:25-cv-00532-TNM         Document
                              DAILY GUIDANCE AND PRESS        56-4
                                                       SCHEDULE       Filed 04/16/25
                                                                FOR WEDNESDAY, APRIL 16, 2025Page
                                                                                              | White 3 of 3Pool | Forth
                                                                                                      House

   To ensure uninterrupted delivery of these emails, please add [EMAIL ADDRESS] to your Address Book and/or
   Safe Sender list.


   The Office of Communications . 1600 Pennsylvania Ave NW . Washington, DC 20500-0005 . USA XXX-XXX-
   XXXX


   ** Privacy Policy (https://www.whitehouse.gov/privacy/)


                                                          SPONSORED




        Start Applying for Grants

        Updated weekly with the newest grant applications. Start applying to multiple sources.



                                                                                                                  USA Funding A




                                           Loading...
                                                                                           Your Feed     Top Stories

https://www.forth.news/whpool/CNBcXGMZZWxuGgKzgNi2t                                                                         2/2
